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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VICTOR H. ALVARADO BALDERRAMO,
individually and on behalf of all other persons
similarly situated, et al.,
                               Plaintiffs,
                                                                         ORDER
                       – against –                                  15 Civ. 2326 (ER)

GO NEW YORK TOURS INC., and ASEN
KOSTADINOV, jointly and severally,

                               Defendants.


RAMOS, D.J.:

         On July 7, 2021, Defendants submitted motions for summary judgment, sanctions, and

other relief. Doc. 256. On August 6, 2021, Plaintiﬀs submitted a motion for partial summary

judgment. Doc. 271. As discussed during a conference held before the Court on February 4,

2022, the Court denies as moot the parties’ respective motions, Docs. 256 and 271.

         The Clerk of Court is respectfully directed to terminate the motions, Docs. 256 and 271.

         It is SO ORDERED.


Dated:    February 4, 2022
          New York, New York
                                                                   Edgardo Ramos, U.S.D.J.
